Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 1 of 9


                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA




UNITED STATES OF AMERICA,

vs.

ANAS M. ODEH,

      Defendant.
_ _ _ _ _ _ _ _ _ _ _ _ _!

                               CRIMINAL COVER SHEET

      1. This matter did not originate from a matter pending in the Central Region of the United

         States Attorney's Office prior to August 9, 2013 (Mag. Judge Alicia Valle).

      2. This matter did not originate from a matter pending in the Central Region of the United

         States Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard).            I
                                                                                                   I
                                                                                                   I
                                           Respectfully submitted,                                 II
                                                                                                   i
                                                                                                   I
                                           ARIANA FAJARDO ORSHAN                                   I
                                           UNITED STATES ATTORNEY
                                                                                                   I
                                    BY:    s/Jonathan E. Kobrinski
                                           Jonathan E. Kobrinski
                                                                                                   I
                                           Assistant United States Attorney
                                           Court Identification No.: A5501893
                                                                                                   !I
                                           99 Northeast 4th Street                                 I
                                           Miami, Florida 33132-2111
                                           Tel: (305) 961- 9074
                                           Fax: (305) 530- 7976
                                           Jonathan. Ko brinski@usdoj.gov




                              CERTIFICATE OF SERVICE
Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 2 of 9


        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the

 Clerk of the Court using CM/ECF and thereby served on counsel for the Defendant electronically.


                                                   ls/Jonathan E. Kobrinski
                                                   Assistant United States Attorney




                                              2
     Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 3 of 9
AO 91 (Rev. 08/09) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.     I : 2 tJ-   n1J- .:, I 5~ - t3te ~l"'ra.
                                                                   )
                                                                   )
                       Anas M. Odeh,                               )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     1/31/2020                  in the county of            Miami-Dade            in the
     Southern          District of - - - ~
                                         Florida
                                            - - - - - , the defendant(s) violated:
          Code Section                                                     Offense Description
49 U.S.C. § 46307                              Violating National Defense Airspace




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT.




         ~ Continued on the attached sheet.




                                                                                     Special Agent Timothy Callinan, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:   !J / I J ·kJ
City and state:                           Miami, Florida                                Jacqueline Becerra, U.S. Magistrate Judge
                                                                                             Printed name and title
Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 4 of 9



                                           AFFIDAVIT

       I, Timothy Callinan, being duly sworn, depose and states as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent with the Federal Bureau of Investigation ("FBI"), having

been so employed since March 2018. As a Special Agent, my duties include the investigation of

violations of the United States Code. I am currently assigned to the FBI Miami Field Office and

the National Security Cyber Investigations Squad. I am familiar with the laws concerning and the

operation of unmanned aerial systems.

       2.      I make this affidavit in support of the criminal complaint for Anas M. Odeh

("ANAS ODEH").

       3.      Based on the facts set forth in this affidavit, I submit there is probable cause to

believe that ANAS ODEH violated Title 49, United States Code, Section 46307 by knowingly and

willfully violating national defense airspace, that is, flying an unmanned aircraft system (UAS)

within a temporary flight restriction (TFR) zone.

       4.      The information contained in this affidavit is based upon my personal knowledge,

as well as knowledge, information and documentation that I obtained from other law enforcement

officers and civilian witnesses who have first-hand knowledge of the events described herein.

Because this affidavit is submitted for the limited purpose of establishing probable cause, it does

not contain all of the information known to me concerning this investigation but contains only

facts necessary to establish probable cause for the instant request.

                                          DEFINITIONS

       5.      Title 14 ("Aeronautics and Space"), Code of Federal Regulations, Section 1.1

defines the following terms used in this affidavit:
Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 5 of 9



        a.      "Aircraft" means a device that is used or intended to be used for flight in the air.

        b.      "Unmanned aircraft" means an aircraft operated without the possibility of direct

human intervention from within or on the aircraft.

        c.      "Small unmanned aircraft" means an unmanned aircraft weighing less than 55

pounds on takeoff, including everything that is on board or otherwise attached to the aircraft.

        d.      "Small unmanned aircraft system" (small UAS) means a small unmanned aircraft

and its associated elements (including communication links and the components that control the

small unmanned aircraft) that are required for the safe and efficient operation of the small

unmanned aircraft in the national airspace system.

                           BACKGROUND AND APPLICABLE LAW

        6.      The Federal Aviation Administration (FAA) is an agency within the United States

Department of Transportation responsible for the control and use of navigable airspace within the

United States. The FAA created the National Airspace System (NAS) to protect persons and

property on the ground, and to establish a safe and efficient airspace for civil, commercial, and

military aviation. In the FAA Modernization and Reform Act of 2012, the FAA was charged with

safely integrating unmanned aircraft systems (UAS), commonly referred to as "drones," into the

NAS.

        7.      Title 49 ("Transportation"), United States Code, Section 40103(b)(3) requires the

Administrator of the FAA, in consultation with the Secretary of Defense, to establish areas in the

airspace the Administrator decides are necessary in the interest of national defense; and by

regulation or order, restrict or prohibit flight of civil aircraft that the Administrator cannot identify,

locate, and control with available facilities in those areas. A temporary flight restriction (TFR) is




                                                    2
Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 6 of 9



a regulation that temporarily restricts certain aircraft from operating within a defined area in order

to protect persons or property in the air or on the ground.

       8.      Pursuant to § 40103(b)(3), on January 22, 2020, the FAA issued a TFR that

prohibited all unmanned aircraft from operating within a defined geographical zone within Miami

Beach without prior approval from the FAA. 1 Pursuant to § 40103(b)(3), the FAA classified the

airspace within this TFR as "National Defense Airspace" in NOTAM (written notification) 0/6432.

       9.      Title 49, United States Code, Section 46307 prohibits a person from knowingly or

willfully violating 49 U.S.C .. § 40103(b)(3), or a regulation prescribed, or order issued under§

40103(b)(3).

                        FACTS ESTABLISHING PROBABLE CAUSE

       10.     On or about January 31, 2020, at approximately 3:30 p.m., a small UAS was

observed flying in the vicinity of Collins Ave and 10th Street, in Miami Beach, Florida, an area

within the boundaries of the TFR. Initially, visual contact was made with the UAS as it hovered

for an extended period of time above a large group of people at the intersection of Collins Avenue

and 10th Street, clearly flying within the boundaries of the TFR and in violation of several FAA

regulations. Law enforcement searched for and located the pilot of the UAS located on the roof of

the Fairwind Hotel. Upon arriving, law enforcement witnessed the drone hovering over the pool

and being controlled by an individual seated to the right side of the pool. This individual was

identified as ANAS ODEH and is pictured below operating the UAS:




1
  This TFR, and other TFR's, were issued as part of a comprehensive security complement
designed to protect and secure the events leading up to and including Super Bowl 54. This
particular TFR extended from approximately 5th Street on its southern border to the Julia Tuttle
Causeway on the northern border, with Biscayne Bay on the western border and the Atlantic Ocean
on the eastern border. The TFR was in effect on January 29, 2020 from 2 p.m. until 11 p.m.
                                                 3
Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 7 of 9




                                                                                                        I
                                                                                                        I
                                                                                                        I
                                                                                                        i


       11.     ANAS ODEH was interviewed by law enforcement and FAA safety inspectors.
                                                                                                        I
                                                                                                        I
                                                                                                        t
                                                                                                        I
ANAS ODEH admitted he piloted the UAS that was observed by law enforcement which was

violating the TFR. The observed UAS was identified as a DJI Mavic Pro, which is a common
                                                                                                        I
                                                                                                        !
                                                                                                        !'
                                                                                                        I
model among UAS enthusiasts. According to the official YouTube Channel of the UAS                       I
manufacturer, DJI, areas within a red shading on the map in the bottom left hand comer of the
                                                                                                        I
screen are "Restricted Zones", synonymous with what the FAA regard as a TFR. This map remains

visible for the duration of the flight of the UAS. DJI displays five color coded zone levels on their
                                                                                                        J
UAS products, restricted zones are the highest priority and are typically a safety or security          I


concern. Further, in order to fly in restricted zones there are multiple prompts that the user must     I
acknowledge by sliding an acknowledgement indicator and pressing an "ok" prompt. Examples

from the video posted on YouTube that demonstrate the steps required are as follows:
                                                                                                        I
                                                                                                         f




                                                 4
Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 8 of 9
...




       12.     In order to fly his UAS in the TFR, ANAS ODEH stated that he affirmatively

acknowledged all prompts prior to the flight of the UAS. ANAS ODEH admitted he did not seek

or receive authority or approval from the FAA to fly within the TFR. In the example images above,

the map in the bottom left hand comer displays an area shaded in red, indicating the UAS is located

                                                5
     -
     Case 1:20-mj-02156-JB Document 1 Entered on FLSD Docket 02/03/2020 Page 9 of 9
     j



     within a restricted zone. In the image below, taken when contact was made while in the hands of

     ANAS ODEH, you can see the red shade encompassing the area from which ANAS ODEH was

     flying:




                                                                                                              I
               13.
                                               CONCLUSION

                     Based on the foregoing facts, I respectfully submit there is probable cause to believe
                                                                                                              l
                                                                                                              I
     ANAS ODEH has violated Title 49, United States Code, Section 46307 by knowingly and willfully

     violating national defense airspace.
''

l
,,
                                                                  <~-
                                                                   Timothy Callinan, Special Agent
                                                                   Federal Bureau of Investigation

I
!
l
l




                                                       6
